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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :              Case No. 1:22-cr-00100 (RBW)
                                             :
       v.                                    :
                                             :              February 14, 2023
JACOB L. ZERKLE                      :

                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court that

Assistant United States Attorney Katherine E. Boyles is entering her appearance in the above-

captioned matter as counsel for the United States.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY
                                                     D.C. Bar No. 481052

                                                     /s/ Katherine E. Boyles
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